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                EXHIBIT A
                  Part 1
                                   Case 3:17-cv-00621-KAD Document 1-1 Filed 04/13/17 Page 2 of 5
Aetna                                                            The Rawlings Company                      Wednesday, November 16, 2016 10:59 am

Patient's Name: NELLINA GUERRERA                         Make Checks Payable To:                               Paid Amount Subject to Change.
                                                         The Rawlings Company LLC                              Please call (502) 716-6980
Member's Name: NELLINA GUERRERA                          Attn: Kevin E. James J.D.                                  for the final paid amount.
                                                         The Rawlings Company, Subrogation Division            Representative: Kevin E. James J.D.
File Number: 15UMD0800268                                P.O. Box 2000, LaGrange, KY 40031-2000



 Trmt. Date In Trmt. Date Out Claim No.        Provider or Drug Name   ICD      ICD Desc.          CPT       CPT Desc.        Bill Amount Paid Amount)
  02/24/2015     02/24/2015   150226E7582100   THE ORTHOPAEDIC         719.41   PAIN IN JOINT,     99214     OFFICE/OUTPT         $183.00      $110.20
                                                                                SHOULDER                     VISIT, EST,
                                                                                                             DETAILED
  02/24/2015     02/24/2015   150226E7582100   THE ORTHOPAEDIC         719.41   PAIN IN JOINT,     73030     X-RAY EXAM OF         $75.00       $33.12
                                                                                SHOULDER                     SHOULDER,
                                                                                                             COMPLETE
  03/02/2015     03/02/2015   150311E0606300   ADVANCED RADIOL         727.61   RUPTURE, ROTATOR   73221     MRI UPR EXTR       $1,050.00      $235.37
                                                                                CUFF                         JOINT, W/O
                                                                                                             CONTRAST
  03/31/2015     03/31/2015   150407E5217900   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     99214     OFFICE/OUTPT         $183.00     $110.20
                                                                                ROTATOR CU                   VISIT, EST,
                                                                                                             DETAILED
  04/01/2015     04/01/2015   150407E7470200   SPAK, JAMES I.,         840.4    SPRAIN/STRAIN,     99214     OFFICE/OUTPT         $183.00      $94.71
                                                                                ROTATOR CU                   VISIT, EST,
                                                                                                             DETAILED
  04/07/2015     04/07/2015   150417E9883200   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     L3660     ABDUCT               $150.00      $38.43
                                                                                ROTATOR CU                   RESTRAINER
                                                                                                             CANVAS &
                                                                                                             WEBBING
  04/13/2015     04/13/2015   150417E5727900   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     29826     ARTHSCPY SHLDR       $230.00      $23.09
                                                                                ROTATOR CU                   DECOMPRESSION

  04/13/2015     04/13/2015   150417E5727900   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     29827     ARTHSCPY SHLDR       $910.00     $137.77
                                                                                ROTATOR CU                   W/ROTATOR CUFF
                                                                                                             RPR
  04/13/2015     04/13/2015   150417E9883100   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     29823     ARTHSCPY           $2,661.00     $438.08
                                                                                ROTATOR CU                   SHLDR, DEBRID,
                                                                                                             EXTENSIVE
  04/13/2015     04/13/2015   150416E2765500   YONEMOTO, LAURI         840.4    SPRAIN/STRAIN,     76942     ULTRASONIC         $1,236.00      $34.80
                                                                                ROTATOR CU                   GUIDE NEEDLE
                                                                                                             PLCMNT S/I
  04/13/2015     04/13/2015   150417E9883100   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     29827     ARTHSCPY SHLDR     $4,528.00   $1,510.43
                                                                                ROTATOR CU                   W/ROTATOR CUFF
                                                                                                             RPR
  04/13/2015     04/13/2015   15042808467800   SURGERY CENTER          840.6    SPRAIN/STRAIN,     29827     ARTHSCPY SHLDR    $10,090.00   $2,717.29
                                                                                SUPRASPINA                   W/ROTATOR CUFF
                                                                                                             RPR
  04/13/2015     04/13/2015   150416E2765500   YONEMOTO, LAURI         840.4    SPRAIN/STRAIN,     64415     INJECT NRV         $1,957.00      $68.49
                                                                                ROTATOR CU                   BLOCK, BRCHL
                                                                                                             PLEXUS SNGL
  04/13/2015     04/13/2015   150417E5727900   THE ORTHOPAEDIC         840.4    SPRAIN/STRAIN,     29823     ARTHSCPY            $535.00       $40.42
                                                                                ROTATOR CU                   SHLDR, DEBRID,
                                                                                                             EXTENSIVE

Please write this number on your check: 15UMD0800268                     1                                               Tax Id Number: XX-XXXXXXX
                                   Case 3:17-cv-00621-KAD Document 1-1 Filed 04/13/17 Page 3 of 5
Aetna                                                            The Rawlings Company                   Wednesday, November 16, 2016 10:59 am

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                                                         The Rawlings Company LLC                           Please call (502) 716-6980
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                                                         The Rawlings Company, Subrogation Division         Representative: Kevin E. James J.D.
File Number: 15UMD0800268                                P.O. Box 2000, LaGrange, KY 40031-2000



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  04/13/2015     04/13/2015   150416E2765500   YONEMOTO, LAURI         840.4   SPRAIN/STRAIN,   01630     ANESTHESIA,        $2,654.00      $202.58
                                                                               ROTATOR CU                 SHOULDER BONE
                                                                                                          SURGERY
  04/13/2015     04/13/2015   150417E9883100   THE ORTHOPAEDIC         840.4   SPRAIN/STRAIN,   29826     ARTHSCPY SHLDR     $1,150.00      $932.53
                                                                               ROTATOR CU                 DECOMPRESSION

  05/12/2015     05/12/2015   150602E5197700   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,1+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  05/15/2015     05/15/2015   150605E7833200   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  05/18/2015     05/18/2015   150605E5781900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,1+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  05/22/2015     05/22/2015   150605E4762200   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  05/26/2015     05/26/2015   150605E4762200   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  05/29/2015     05/29/2015   150608E7303600   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/02/2015     06/02/2015   150630E3322900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/05/2015     06/05/2015   150630E3322900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/09/2015     06/09/2015   150630E3322900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN



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                                   Case 3:17-cv-00621-KAD Document 1-1 Filed 04/13/17 Page 4 of 5
Aetna                                                         The Rawlings Company                      Wednesday, November 16, 2016 10:59 am

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  06/12/2015     06/12/2015   150630E3322900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/16/2015     06/16/2015   150630E0625100   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/19/2015     06/19/2015   150707E0418501   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/23/2015     06/23/2015   150709E0034500   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/26/2015     06/26/2015   150710E4989400   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  06/30/2015     06/30/2015   150710E7028300   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  07/02/2015     07/02/2015   150803E4792700   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,l+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  07/02/2015     07/02/2015   151019N7743500   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97014     APPLY                 $28.00       $0.00
                                                                               ROTATOR CU                 MODALITY,l+ARE;
                                                                                                          STIM

  07/02/2015     07/02/2015   151019N7743500   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97140     MANUAL THERAPY        $65.00       $0.00
                                                                               ROTATOR CU                 1+ REGIONS, EA
                                                                                                          15 MN
  07/07/2015     07/07/2015   150803E4792700   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                               ROTATOR CU                 PROC,1+AREA,TX
                                                                                                          EXER, EA 15
                                                                                                          MIN
  07/07/2015     07/07/2015   151019N7743500   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97014     APPLY                 $28.00       $0.00
                                                                               ROTATOR CU                 MODALITY,l+APE;
                                                                                                          STIM


Please write this number on your check: 15UMD0800268                     3                                            Tax Id Number: XX-XXXXXXX
                                    Case 3:17-cv-00621-KAD Document 1-1 Filed 04/13/17 Page 5 of 5
Aetna                                                             The Rawlings Company                   Wednesday, November 16, 2016 10:59 am

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  07/07/2015     07/07/2015    151019N7743500   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97140      MANUAL THERAPY       $65.00        $0.00
                                                                                ROTATOR CU                  1+ REGIONS, EA
                                                                                                            15 MN
  07/20/2015     07/20/2015    150808E1576900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110      TX                   $79.56       $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  07/21/2015     07/21/2015    150722E0108400   THE ORTHOPAEDIC         840.4   SPRAIN/STRAIN,   99213     OFFICE/OUTPT         $125.00       $57.85
                                                                                ROTATOR CU                 VISIT, EST,
                                                                                                           EXP PROB
  07/24/2015     07/24/2015    150808E1576900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110      TX                   $79.56       $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  07/27/2015     07/27/2015    150808E1576900   ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  07/31/2015     07/31/2015   150808E0913401    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56       $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  08/04/2015     08/04/2015   150902E7728000    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  08/11/2015     08/11/2015   150909E7006700    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  08/13/2015     08/13/2015   150909E7006700    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  08/18/2015     08/18/2015   150909E5726900    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN
  08/21/2015     08/21/2015   150910E9130300    ORTHONET LLC            840.4   SPRAIN/STRAIN,   97110     TX                    $79.56      $59.56
                                                                                ROTATOR CU                 PROC,l+AREA,TX
                                                                                                           EXER, EA 15
                                                                                                           MIN



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